                   Case 21-11005                 Doc 51              Filed 10/04/21 Entered 10/04/21 17:40:53            Desc Main
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 Fill in this information to identify your case:

 Debtor 1                 Laura Patricia Heras
                          First Name                        Middle Name                Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MASSACHUSETTS

 Case number           21-11005
 (if known)
                                                                                                                         Check if this is an
                                                                                                                            amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15


If you are an individual filing under chapter 7, you must fill out this form if:
 creditors have claims secured by your property, or
 you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?


    Creditor's         Bank of America                                      Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       1725 Sunkissed Drive Tarpon                         Reaffirmation Agreement.
    property             Springs, FL 34688 Pinellas                         Retain the property and [explain]:
    securing debt:       County
                         Property is intended to be an
                         income producing property or
                         sold/Held by Heras Family Real
                         Estate Trust/Debtor is a
                         beneficiary of the Trust


    Creditor's         Maine Capital Group                                  Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       20 Laura Road Waban, MA                             Reaffirmation Agreement.
    property             02468 Middlesex County                             Retain the property and [explain]:
    securing debt:       Zillow estimated value/held by
                         Heras Family Real Estate
                         Trust/Debtor is a beneficiary of
                         the trust


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 Debtor 1      Laura Patricia Heras                                                                    Case number (if known)    21-11005




    Creditor's     Newmarket Triangle LLC                                   Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of      20 Laura Road Waban, MA                              Reaffirmation Agreement.
    property            02468 Middlesex County                              Retain the property and [explain]:
    securing debt:      Zillow estimated value/held by
                        Heras Family Real Estate
                        Trust/Debtor is a beneficiary of
                        the trust


    Creditor's     Select Portfolio Servicing, Inc                          Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of      20 Laura Road Waban, MA                              Reaffirmation Agreement.
    property            02468 Middlesex County                              Retain the property and [explain]:
    securing debt:      Zillow estimated value/held by
                        Heras Family Real Estate
                        Trust/Debtor is a beneficiary of
                        the trust


    Creditor's     Wells Fargo                                              Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of      20 Laura Road Waban, MA                              Reaffirmation Agreement.
    property            02468 Middlesex County                              Retain the property and [explain]:
    securing debt:      Zillow estimated value/held by
                        Heras Family Real Estate
                        Trust/Debtor is a beneficiary of
                        the trust

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                               Will the lease be assumed?

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes


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 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Laura Patricia Heras                                                     X
       Laura Patricia Heras                                                             Signature of Debtor 2
       Signature of Debtor 1

       Date        October 1, 2021                                                  Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                 page 3

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